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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

  JANE DOE,
                                                       Civil Action No. 1:24-cv-07975-AT
                                 Plaintiff,

        v.
                                       NOTICE OF MOTION TO DISMISS
  SEAN COMBS, DADDY’S HOUSE
  RECORDINGS INC., CE OPCO, LLC d/b/a
  COMBS GLOBAL f/k/a COMBS
  ENTERPRISES, LLC, BAD BOY            (ORAL ARGUMENT REQUESTED)
  ENTERTAINMENT HOLDINGS, INC., BAD
  BOY PRODUCTIONS HOLDINGS, INC., BAD
  BOY BOOKS HOLDINGS, INC., BAD BOY
  RECORDS LLC, BAD BOY ENTERTAINMENT
  LLC, BAD BOY PRODUCTIONS LLC,
  ORGANIZATIONAL DOES 1-10, INDIVIDUAL
  DOES 1-10, AND SHAWN CARTER,

                               Defendants.




       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law in Support

thereof, the Declaration of Alex Spiro, dated February 4, 2025 and all prior pleadings and

proceedings herein, Shawn Carter will move this Court before the Hon. Analisa Torres, by the

undersigned counsel, at the Daniel Patrick Moynihan, U.S. Courthouse, 500 Pearl St., New York,

NY 10007, at a date and time to be determined by this Court, for an order dismissing

Plaintiff’s Amended Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, and for such other and further relief the Court deems just and proper.


       PLEASE TAKE FURTHER NOTICE, that pursuant to the Court’s Order dated January

2, 2025 (ECF 59), opposition papers, if any, shall be filed on or before February 28, 2025, and
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Mr. Carter’s reply in further support, if any, shall be filed by March 14, 2025.

                                                       Respectfully submitted,

                                                        QUINN EMANUEL URQUHART
                                                        & SULLIVAN, LLP
 Dated: New York, New York
        February 4, 2025                       By:      /s/ Alex Spiro
                                                        Alex Spiro
                                                        295 Fifth Avenue
                                                        New York, New York 10016
                                                        (212) 849-7000

                                                        Attorney for Shawn Carter




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